     Case 1:14-cv-00254       Document 466        Filed on 08/31/17 in TXSD         Page 1 of 1
                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                       IN THE UNITED STATES DISTRICT COURT                               August 31, 2017
                       FOR THE SOUTHERN DISTRICT OF TEXAS                               David J. Bradley, Clerk
                               BROWNSVILLE DIVISION

STATE OF TEXAS, ET AL.,                           §
           Plaintiffs,                            §
                                                  §
V.                                                §          CIVIL NO. B-14-254
                                                  §
UNITED STATES OF AMERICA, ET AL.,                 §
          Defendants.                             §

                                            ORDER
        Before the Court is a Motion for Court Order Granting Injunctive Relief on Unopposed

Motion for Preliminary Injunction. [Doc. No. 419]. Putative Plaintiff-Intervenors have filed the

motion. The Court, however, has denied their Motion to Intervene [Doc. No. 392] from the

bench. Consequently, putative Plaintiff-Intervenors are not parties to this case and have no

standing to file a motion for injunctive relief. The Court, therefore, denies their Motion for Court

Order Granting Injunctive Relief on Unopposed Motion for Preliminary Injunction. [Doc. No.

419].

        Signed this 31st day of August, 2017.


                                                               ____________________
                                                               Andrew S. Hanen
                                                               United States District Judge
